     Case: 1:16-cv-02645-JG Doc #: 33-1 Filed: 11/09/16 1 of 3. PageID #: 796




                       UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO



OHIO DEMOCRATIC PARTY,

                           Plaintiff,

       v.
                                                  Civil Action No. 1:16-cv-02645-JG
OHIO REPUBLICAN PARTY, DONALD J.
TRUMP FOR PRESIDENT, INC., ROGER J.               JUDGE JAMES S. GWIN
STONE, JR., STOP THE STEAL INC.,
                                                  MAGISTRATE JUDGE THOMAS M.
                           Defendants.            PARKER




   [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR VOLUNTARY
                           DISMISSAL

       This Court, having considered Plaintiff’s Motion for Voluntary Dismissal, hereby

GRANTS the motion and ORDERS that the above-captioned action is dismissed in its entirety

without prejudice.

SO ORDERED.

                                         _________________________________
                                         Hon. James S. Gwin, U.S.D.J.


Dated: _______________




                                           1
Case: 1:16-cv-02645-JG Doc #: 33-1 Filed: 11/09/16 2 of 3. PageID #: 797




                                   Submitted by:


                                   /s/ Steven S. Kaufman
                                       Steven S. Kaufman
                                       Chad D. Cooper
                                       KAUFMAN & COMPANY, LLC
                                       1001 Lakeside Avenue – Suite 1710
                                       Cleveland, Ohio 44114
                                       Tel.: (216) 912-5500
                                       Fax: (216) 912-5501
                                       Steve.Kaufman@Kaufman-Company.com
                                       Chad.Cooper@Kaufman-Company.com

                                       Donald J. McTigue
                                       Derek S. Clinger
                                       MCTIGUE & COLOMBO LLC
                                       545 East Town Street
                                       Columbus, OH 43215
                                       Tel: (614) 263-7000
                                       Fax: (614) 263-7078
                                       dmctigue@electionlawgroup.com

                                       N. Zachary West
                                       OHIO DEMOCRATIC PARTY
                                       340 East Fulton Street
                                       Columbus, OH 42315
                                       Tel: (614) 221-6563
                                       Fax: (614) 221-0721
                                       zwest@ohiodems.org
                                       (appearing pro hac vice)

                                       Marc E. Elias
                                       Perkins Coie LLP
                                       700 13th Street, Suite 600
                                       Washington, DC 20005
                                       Tel: (202) 434-1609
                                       Fax: (202) 654-9126
                                       melias@perkinscoie.com
                                       (appearing pro hac vice)

                                       Michael J. Gottlieb
                                       BOIES, SCHILLER & FLEXNER LLP
                                       5301 Wisconsin Ave, N.W.
                                       Washington, DC 20015
                                       Tel: (202) 237-2727

                                   2
Case: 1:16-cv-02645-JG Doc #: 33-1 Filed: 11/09/16 3 of 3. PageID #: 798




                                       Fax: (202) 237-6131
                                       mgottlieb@bsfllp.com
                                       (appearing pro hac vice)

                                       Dawn L. Smalls
                                       BOIES, SCHILLER & FLEXNER LLP
                                       575 Lexington Avenue
                                       New York, NY 10022
                                       Tel: (202) 754-4216
                                       Fax: (212) 446-2350
                                       dsmalls@bsfllp.com
                                       (appearing pro hac vice)

                                       Attorneys for Plaintiff Ohio Democratic Party




                                   3
